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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

MICHAEL GONIDAKIS, et al.,                       :
                                                 :
               Plaintiffs,                       :   Case No. 2:22-cv-0773
                                                 :
       v.                                        :   Chief Judge Algenon L. Marbley
                                                 :
OHIO REDISTRICTING                               :   Magistrate Judge Elizabeth P. Deavers
COMMISSION, et al.,                              :
                                                 :
               Defendants.                       :

                ORDER RESETTING LOCAL RULE 65.1 CONFERENCE

       This matter currently is set for a status conference pursuant to Local Rule 65.1 on Monday,

March 7, 2022, beginning at 9:30 a.m. Intervenor-Defendants A. Philip Randolph Institute of

Ohio and League of Women Voters of Ohio have moved to continue the conference by one week,

citing recent developments in their case before the Ohio Supreme Court. (ECF No. 47). Under a

recently entered scheduling order, objections and responses to the third proposed map of the Ohio

Redistricting Commission were fully briefed to the Ohio Supreme Court as of March 3, 2022. (Id.

at 2). Intervenor-Defendants contend that the conference should be continued “to permit some time

for the Ohio Supreme Court to consider the pending objections and forthcoming responses and

issue its ruling.” (Id.). Defendant LaRose and other Intervenors do not oppose the request. (Id.).

Plaintiffs do; in fact, they have filed an Emergency Motion for a Three-Judge Panel and March 7

Local Rule 65.1 Conference, arguing that “[t]his Court’s delay in notifying the Chief Circuit Judge

[of the panel request] risks denying Plaintiffs’ preliminary injunction contrary to 28 U.S.C.

§ 2284(b)(3), especially if the panel cannot convene on March 7, as first scheduled by this Court.”

(ECF No. 53 at 7).




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       The Court concurs with Intervenors that good cause exists to continue the conference. In

Growe v. Emison, the Supreme Court wrote that it has “required federal judges to defer

consideration of disputes involving redistricting where the State, through its legislative or judicial

branch, has begun to address that highly political task itself.” 507 U.S. 25, 33 (1993) (emphasis in

original). If the conference occurs on March 7, it is quite likely that state judicial proceedings will

remain underway, requiring this Court to “‘stay[] its hand.’” Id. (quoting Scott v. Germano, 381

U.S. 407, 409 (1965)). By contrast, if the conference is continued to March 14, a decision on the

third map likely will have issued—potentially bringing state processes to a conclusion. Because

that one-week period is greatly consequential for the scope of actions this Court may take, the

conference will be more productive if it is delayed. Indeed, this was the Court’s stated rationale

for initially choosing the later of the two dates proposed at the parties’ status conference of

February 25. The same logic counsels for a brief continuance now.

       The Court is attuned to Plaintiffs’ timeliness concerns—particularly regarding their request

for a three-judge panel, which is the only body that may hear their Motion for a Preliminary

Injunction. See 28 U.S.C. § 2284(b)(3). Nevertheless, “[a] three-judge court is not required where

the district court itself lacks jurisdiction of the complaint or the complaint is not justiciable in the

federal courts.” Gonzalez v. Automatic Emps. Credit Union, 419 U.S. 90, 100 (1974) (quoted with

approval by Shapiro v. McManus, 577 U.S. 39, 44–45 (2015)). The ongoing nature of state judicial

processes implicates the ripeness of Plaintiffs’ case and thus blunts the immediacy of their panel

request. The Court will hear further arguments on this issue at the rescheduled conference; but for

now, Plaintiffs’ panel request does not mandate that the Court rush ahead, contra Growe, while

state judicial processes are potentially days away from finality.




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       The Court also rejects Plaintiffs’ premise that a one-week delay amounts to a denial of their

Motion for a Preliminary Injunction. Part of the relief Plaintiffs seek in that Motion is for the three-

judge Court to “[e]stablish a schedule that will enable the Court to adopt . . . and implement the

new plan,” and to “[i]ssue an order, as needed, staying the necessary election-related deadlines.”

(ECF No. 10 at 16). The March 18 deadline for preparing overseas ballots, which Plaintiffs cite as

necessitating a March 7 conference (ECF No. 53 at 6), is among those deadlines that Plaintiffs’

preliminary injunction contemplates staying or resetting by Court order. It cannot be true that a

one-week delay would “effectively deny Plaintiffs’ preliminary injunction on the merits” (Id. at

9), when the preliminary injunction requests specific action to address the lapsing election-related

deadlines.

       Therefore, the Motion to Continue (ECF No. 47) is GRANTED. The Local Rule 65.1

conference is reset for Monday, March 14, 2022, beginning at 9:30 a.m. In all other respects, the

Court’s prior scheduling order (ECF No. 45) remains in effect. Plaintiffs’ Emergency Motion (ECF

No. 53) is DENIED. The Court will hear arguments on March 14 regarding Plaintiffs’ request for

a three-judge panel and will issue a ruling forthwith; it will not, however, initiate the panel on an

emergency basis.

       IT IS SO ORDERED.


                                               ALGENON L. MARBLEY
                                               CHIEF UNITED STATES DISTRICT JUDGE
DATED: March 4, 2022




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